

People v Parks (2023 NY Slip Op 02463)





People v Parks


2023 NY Slip Op 02463


Decided on May 09, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 09, 2023

Before: Webber, J.P., Kern, Friedman, Mendez, Shulman, JJ. 


Ind No. 633/11 Appeal No. 216 Case No. 2015-01963 

[*1]The People of the State of New York, Respondent,
vLloyd Parks, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Steven R. Berko of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Jonathan Sclar of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about April 8, 2015, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
Clear and convincing evidence supported the assessment of 15 points for defendant's history of substance abuse. Defendant used marijuana on a daily basis, which is a recognized form of substance abuse for purposes of this risk factor (see People v Nieves, 179 AD3d 849 [2d Dept 2020], lv denied 35 NY3d 906 [2020]; see also People v Padilla, 116 AD3d 566, 567 [1st Dept 2014], lv denied 24 NY3d 902 [2014]). Clear and convincing evidence also supported the assessment of 10 points for unsatisfactory conduct while confined, based on defendant's three Tier II infractions and his Tier III violation approximately 11 months before his sex offender adjudication (see People v Morales, 157 AD3d 475, 475 [1st Dept 2018], lv denied 31 NY3d 903 [2018]).
The court providently exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). The allegedly mitigating factors cited by defendant were adequately taken into account by the risk assessment instrument or were outweighed by aggravating factors.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 9, 2023








